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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

JANE DOE 1, et al.,

       Plaintiffs,

v.                                                             No. 2:23-cv-1059 GBW/KRS

NEW MEXICO STATE UNIVERSITY, et al.,

       Defendants.

     ORDER GRANTING MOTION TO EXTEND DEADLINE TO PROVIDE INITIAL
      DISCLOSURES AND CLARIFYING SCHEDULING CONFERENCE SETTING

       THIS MATTER is before the Court on the parties’ Unopposed Motion to Amend

Stipulated Order Extending Deadlines, (Doc. 45), filed June 27, 2024. The parties ask for an

extension of their deadline to provide initial disclosures from June 20, 2024 to July 10, 2024.

The Court finds the request well-taken and GRANTS the Motion. The Court notes that the

parties state in their Motion that the telephonic Rule 16 Scheduling Conference was reset from

July 10, 2024 to July 24, 2024—this is incorrect. The undersigned, as the assigned pre-trial

judge for this case, set the telephonic Rule 16 Scheduling Conference for July 10, 2024 at

10:30 a.m. See (Doc. 32). The assigned trial judge (Judge Wormuth) has set a separate trial

scheduling conference for July 24, 2024 at 3:00 p.m. See (Doc. 42). These are separate

scheduling conferences before different judges. See D.N.M. LR-Civ. 73.1 (a) (explaining that

civil cases in this district are each assigned a pre-trial and trial Magistrate Judge). The

telephonic Rule 16 Scheduling Conference remains set for July 10, 2024 at 10:30 a.m. before the

undersigned.

       IT IS THERFORE ORDERED that the parties’ Unopposed Motion to Amend Stipulated

Order Extending Deadlines, (Doc. 45), is GRANTED and the parties may submit their initial



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disclosures by July 10, 2024. The July 10, 2024 telephonic Rule 16 Scheduling Conference

will proceed at 10:30 a.m., as scheduled, and the parties’ Joint Status Report remains due

by June 27, 2024. See (Doc. 32).

       IT IS SO ORDERED.




                                                 ________________________________
                                                 KEVIN R. SWEAZEA
                                                 UNITED STATES MAGISTRATE JUDGE




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